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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA]

                                          MIAMI DIVISION

  ANNA METROSE,                                           Case No.: 12-CV-62000 SCOLA/SNOW

                    Plaintiffs,
  vs.

  VITAL RECOVERY SERVICES, INC.,

                    Defendant.

                                      NOTICE OF SETTLEMENT

                    Defendant hereby serves notice upon the Court that a settlement has been reached

  with Plaintiff.

          The parties are in the process of preparing the appropriate settlement documents for

  submittal to the Court, and are optimistic that such documents will be served and filed within the

  next 15 to 20 days upon Plaintiff's execution of a proposed release acceptable to the parties, as

  well as the transfer of the settlement payment and executed documents.

          Dated: November 2,2012.

                                           s/David P. Hartnett
                                           David P. Hartnett
                                           Florida Bar No. 0946631
                                           dhartnett@hinshawlaw.com
                                           HINSHAW & CULBERTSON LLP
                                           2525 Ponce de Leon Boulevard,4th Floor
                                           Coral Gables, FL 33134
                                           Telephone: 305-358-7747
                                           Facsimile: 305-577-1063
                                           Primary: dhartnett@hinshawlaw.com
                                           Secondary: clucas@hinshawlaw.com




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 2, 2012, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

  the following:

  JASON WEAVER, ESQUIRE
  Jason Weaver, P.A.
  3531 Griffin Road
  Ft. Lauderdale, FL 33312
  Phone : 954987-0515
  Fax: 954964-3764
  e-mail: Jason@jasonweaverpa.com


                                        s/David P. Hartnett
                                        David P. Hartnett
                                        Florida Bar No. 0946631
                                        dhartnett@hinshawlaw.com
                                        HINSHAW & CULBERTSON LLP
                                        2525 Ponce de Leon Boulevard
                                        4th Floor
                                        Coral Gables, FL 33134
                                        Telephone: 305-358-7747
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                                        Secondary: clucas@hinshawlaw.com




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